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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11     ANDRE LUIZ COSTA SOARES,      )        Case No. 5:21-cv-01220-ODW-JC
                                     )
12                      Petitioner,  )
                                     )
13                 v.                )        ORDER ACCEPTING FINDINGS,
                                     )        CONCLUSIONS, AND
14     U.S. DEPARTMENT OF            )        RECOMMENDATIONS OF UNITED
       HOMELAND SECURITY,            )        STATES MAGISTRATE JUDGE
15                                   )
                                     )
16                     Respondent.   )
       _____________________________ )
17
18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition for Writ of
19 Habeas Corpus by a Person in Federal Custody pursuant to 28 U.S.C. § 2241
20 (“Petition”), petitioner’s related/supporting submissions, respondent’s Motion to
21 Dismiss the Petition (“Motion to Dismiss”), petitioner’s response/opposition to the
22 Motion to Dismiss, and all of the records herein, including the October 22, 2021
23 Report and Recommendation of United States Magistrate Judge (“Report and
24 Recommendation”). The Court approves and accepts the Report and
25 Recommendation.
26      IT IS HEREBY ORDERED that the Motion to Dismiss is granted, the
27 Petition and this action are dismissed without prejudice, and Judgment shall be
28 entered accordingly.
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 1          IT IS FURTHER ORDERED that the Clerk serve copies of this Order and
 2 the Judgment herein on petitioner and on counsel for respondent.
 3          IT IS SO ORDERED.
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 5 DATED: 11-24-2021
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                                   HONORABLE OT TIS D. WRIGHT,, II
                                          STATES
                                   UNITED STATE
                                              ES DISTRICT JUDGE
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